                    Case 23-10047-LSS              Doc 21       Filed 01/17/23        Page 1 of 5




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                              )
    In re:                                                    ) Chapter 11
                                                              )
    PERFORMANCE POWERSPORTS GROUP                             )
    INVESTOR, LLC, et al., 1                                  ) Case No. 23-10047 (LSS)
                                                              )
                                       Debtors.               ) (Joint Administration Requested)
                                                              )

      NOTICE OF AGENDA FOR HEARING ON FIRST DAY MOTIONS SCHEDULED
         FOR JANUARY 18, 2023 AT 10:00 A.M. (PREVAILING EASTERN TIME)

    This hearing will be conducted in-person for local counsel. Out-of-town counsel/participants can appear
     remotely by registering with the Zoom link below NO LATER THAN January 18, 2023 at 8:00 a.m.:

      https://debuscourts.zoomgov.com/meeting/register/vJItfu2qqDgpE7ovHL14ziasnAFcnIyPlwQ

                   After registering your appearance by Zoom, you will receive a confirmation
                              email containing information about joining the hearing.


Date and Time of Hearing:              January 18, 2023 at 10:00 a.m. (prevailing Eastern Time)

Location of Hearing:                   The Honorable Chief Judge Laurie Selber Silverstein, Bankruptcy
                                       Judge, United States Bankruptcy Court for the District of Delaware,
                                       824 N. Market Street, 6th Floor, Courtroom #2, Wilmington, Delaware
                                       19801.

Copies of Motions:                     A copy of each pleading can be viewed on the Court’s website at
                                       https://ecf.deb.uscourts.gov and on the website of the Debtors’
                                       proposed notice and claims agent, Omni Agent Solutions (“Omni”), at
                                       at https://omniagentsolutions.com/PerformancePowersports.
                                       Further information may be obtained by calling Omni at: (747) 263-
                                       0129 (toll-free; domestic) or (888) 729-6139 (international) or
                                       emailing at PerformancePowersportsInquiries@omniagnt.com.




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       The Debtors in these chapter 11 cases, along with the last four digits of each of the Debtors’ respective federal
       tax identification numbers, are as follows: Performance Powersports Group Investor, LLC (2068); Performance
       Powersports Group Holdings, Inc. (0823); Performance Powersports Group Purchaser, Inc. (1533); and
       Performance Powersports Group, Inc. (3380). The Debtors’ headquarters and mailing address is: 1775 East
       University Drive, Tempe, Arizona 85281.



10242326.v2
               Case 23-10047-LSS        Doc 21      Filed 01/17/23   Page 2 of 5




     This agenda sets forth items in the order they appear in the first day motions binders
                delivered to the Court. The status of each is set forth below.

1.      Voluntary Chapter 11 Petitions.

        A.     Performance Powersports Group Investor, LLC - Case No. 23-10047 (LSS)
               [Docket No. 1]
        B.     Performance Powersports Group Holdings, Inc. - Case No. 23-10048 (LSS)
               [Docket No. 1]
        C.     Performance Powersports Group Purchaser, Inc. - Case No. 23-10049 (LSS)
               [Docket No. 1]
        D.     Performance Powersports Group, Inc. - Case No. 23-10050 (LSS) [Docket No. 1]

2.      First Day Declaration. Declaration of Ken Vanden Berg in Support of Debtors’ Chapter
        11 Petitions and First Day Motions and Applications [Docket No. 16; Filed 1/16/2023]

               Status:        The Declaration will be relied upon as evidentiary support for the
                              first day matters listed below.

MATTERS GOING FORWARD:

3.      Joint Administration Motion. Debtors’ Motion for Entry of an Order (I) Directing Joint
        Administration of their Related Chapter 11 Cases and (II) Granting Related Relief [Docket
        No. 3; Filed 1/16/2023]

               Status:        This matter is going forward.

4.      Section 156(c) Retention Application. Debtors’ Application for Entry of an Order
        Appointing Omni Agent Solutions as Claims and Noticing Agent Effective as of Petition
        Date [Docket No. 4; Filed 1/16/2023]

               Status:        This matter is going forward.

5.      Creditor Matrix Motion. Debtors' Motion Seeking Entry of an Order (I) Authorizing the
        Debtors to (A) File a Consolidated List of Creditors in Lieu of Submitting a Separate
        Mailing Matrix for Each Debtors, (B) File a Consolidated List of the Debtors' 30 Largest
        Unsecured Creditors, (C) Redact Certain Personal Identification Information, and (III)
        Granting Related Relief [Docket No. 5; Filed 1/16/2023]

               Status:        This matter is going forward.




                                                2
10242326.v2
               Case 23-10047-LSS        Doc 21      Filed 01/17/23    Page 3 of 5




6.      Insurance Motion. Debtors' Motion for Entry of an Interim and Final Order (I)
        Authorizing, But Not Directing, the Debtors to (A) Pay Their Obligations Under Insurance
        Policies Entered into Prepetition and Satisfy Prepetition Obligations Related Thereto, (B)
        Renew, Supplement, Modify, Purchase or Replace Insurance Coverage, and (C) Honor the
        Terms of the Financing Agreement and Pay Premiums Thereunder and (II) Granting
        Related Relief [Docket No. 6; Filed 1/16/2023]

               Status:        This matter is going forward.

7.      Taxes Motion. Debtors' Motion for Entry of Interim and Final Orders (I) Authorizing the
        Payment of Certain Prepetition Taxes and Fees and (II) Granting Related Relief [Docket
        No. 7; Filed 1/16/2023]

               Status:        This matter is going forward.

8.      Customer Programs Motion. Debtors' Motion Seeking Entry of Interim and Final Orders
        (I) Authorizing the Debtors to Maintain and Administer Their Existing Customer Programs
        and Honor Certain Prepetition Obligations Related Thereto and (II) Granting Related
        Relief [Docket No. 8; Filed 1/16/2023]

               Status:        This matter is going forward.

9.      Cash Management Motion. Debtors' Motion for Entry of Interim and Final Orders (I)
        Authorizing the Debtors to (A) Continue to Operate Their Cash Management System, (B)
        Honor Certain Prepetition Obligations Related Thereto, and (C) Maintain Existing
        Business Forms, and (III) Granting Related Relief [Docket No.9; Filed 1/16/2023]

               Status:        This matter is going forward with respect to an interim order.

10.     Utilities Motion. Debtors' Motion for Entry of Interim and Final Orders (I) Prohibiting
        Utility Providers from Altering, Refusing, or Discontinuing Utility Services, (II)
        Determining Adequate Assurance of Payment for Future Utility Services, (III) Establishing
        Procedures for Determining Adequate Assurance of Payment, and (IV) Granting Related
        Relief [Docket No. 10; Filed 1/16/2023]

               Status:        This matter is going forward with respect to an interim order.

11.     Wages Motion. Debtors' Motion for Entry of Interim and Final Orders (I) Authorizing,
        but not Directing, the Debtors to (A) Pay Prepetition Employee Wages, Salaries, Other
        Compensation, and Reimbursable Employee Expenses and (B) Continue Employee
        Benefits Programs and (II) Granting Related Relief [Docket No. 11; Filed 1/16/2023]

               Status:        This matter is going forward.




                                                3
10242326.v2
               Case 23-10047-LSS        Doc 21      Filed 01/17/23    Page 4 of 5




12.     Vendor/Shippers/503(b)(9) Motion. Debtors' Motion for Entry of Interim and Final
        Orders Authorizing, but not Directing, the Debtors to Pay Certain Prepetition Claims of
        Lien Claimants, Import Claimants, Foreign Vendors, 503(b)(9) Claimants, and Critical
        Vendors [Docket No. 12; Filed 1/16/2023]

               Status:        This matter is going forward.

13.     DIP/Cash Collateral Motion. Motion of the Debtors for Entry of Interim and Final
        Orders, Pursuant to 11 U.S.C. §§ 105, 361, 362, 363, 364 and 507 (I) Authorizing Debtors
        to Obtain Senior and Junior Secured Superpriority Postpetition Financing; (II) Granting
        Liens and Superpriority Administrative Expense Claims; (III) Authorizing Use of Cash
        Collateral; (IV) Modifying the Automatic Stay; (V) Scheduling a Final Hearing; and (VI)
        Granting Related Relief [Docket No. 13 Filed 1/16/2023]

               Related Documents:

                         A.   Declaration of Steven Bremer in Support of Cash Collateral and
                              DIP Motion [Docket No. 14; Filed 1/16/2023]

                         B.   Declaration of Alyssa Loyzinski in Support of Cash Collateral and
                              DIP Motion [Docket No. 15; Filed 1/16/2023]

               Status:        This matter is going forward with respect to an interim order.

MATTERS FOR SCHEDULING PURPOSES ONLY:

14.     Motion of Debtors for Entry of (I) an Order (A) Approving Bid Procedures in Connection
        with the Sale of Substantially All Assets, (B) Scheduling an Auction and Sale Hearing, (C)
        Approving the Form and Manner of Notice Thereof, (D) Authorizing Entry Into the
        Stalking Horse Agreement, (E) Approving Bid Protections, (F) Approving Procedures for
        the Assumption and Assignment of Contracts and Leases, and (G) Granting Related Relief;
        and (II) an Order (A) Approving the Sale of Substantially All Assets Free and Clear of All
        Liens, Claims, Encumbrances, and Interests, (B) Authorizing the Assumption and
        Assignment of Contracts and Leases, and (C) Granting Related Relief [Docket No. 17;
        Filed 1/16/2023]

               Related Documents:

                         A.   Declaration of Steven Bremer in Support of Bid Procedures and
                              Sale Motion [Docket No. 18; Filed 1/16/2023]

               Status:        The Debtors will address the scheduling of the hearing on the
                              bidding procedures and bid protections as sell as a final hearing on
                              first day matters and various other second day matters.



                                                4
10242326.v2
              Case 23-10047-LSS   Doc 21      Filed 01/17/23   Page 5 of 5




Dated: January 18, 2023           /s/ Domenic E. Pacitti
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                                  Proposed Counsel to the Debtors and Debtors in Possession




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10242326.v2
